Case No. 1:08-cv-01747-MSK-KLM Document 1-1 filed 08/15/08 USDC Colorado pg 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
   Civil Action No.


   JOSE MANUEL ROSALES RODRIQUEZ;

   A 077 782 651

                       Petitioner,

   V.

   MUKASEY, MICHAEL Acting Attorney General of the United States; KEVIN D.

   ROONEY, Dir., EOIR, Immigration Court, MICHAEL CHERTOFF, Secretary, DHS;

   JEFF HAMILTON, ICE Detention Supervisor

                       Respondents.

                                    ORDER TO SHOW CAUSE
   _____________________________________________________________________
   _
   Upon this petition for a writ of habeas corpus filed herein, it is ORDERED, this
   ____ day of ____________, ____ by the United States District Court for the District of
   Colorado, that the respondent show cause, if any he may have, on or before the ____
   day of ____________, ____, why a writ of habeas corpus should not be issued as
   prayed.
   IT IS FURTHER ORDERED that during the pendency of this proceeding the
   respondent be, and she hereby is, restrained from removing the petitioner from the
   jurisdiction of this Court and that Petitioner be released under reasonable conditions to
   assure that he remains in this Court’s jurisdiction.
   IT IS FURTHER ORDERED that the respondent serve on the petitioner’s
   counsel by mail a copy of the answer to this petition.
   The Clerk is directed to furnish the petitioner with a copy of the applicable rules
   and a copy of the petition for the purpose of making such service.

                                                             ________________________
                                                               United States District Judge
